 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 1 of 10 Page ID #:5985




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 4
 5 Attorneys for Defendants Edward Heldman III,
 6 ComedyMX, Inc. and ComedyMX, LLC
 7 [Additional Counsel on Signature Page]
 8
 9
                                UNITED STATES DISTRICT COURT
10
                               CENTRAL DISTRICT OF CALIFORNIA
11
12
   BEYOND BLOND PRODUCTIONS,                          Case No. 2:20-cv-05581-DSF-GJSx
13 LLC, a California limited liability
14 company,                                           Honorable Dale S. Fischer
15                Plaintiff,                          DEFENDANTS’ NOTICE OF
16                                                    MOTION AND MOTION FOR: 1)
          vs.                                         ORDER AWARDING DEFENDANTS
17
                                                      ADDITIONAL ANTI-SLAPP
18 EDWARD HELDMAN III, an individual;                 ATTORNEYS’ FEES; AND 2)
19 COMEDYMX, INC., a Nevada                           ORDER COMPELLING PAYMENT
   corporation; COMEDYMX, LLC, a                      OF ANTI-SLAPP ATTORNEYS’
20 Delaware limited liability company; and            FEES; MEMORANDUM OF POINTS
21 DOES 1-10;                                         AND AUTHORITIES
22
                  Defendants.                         Hearing:   September 12, 2022
23                                                    Time:      1:30 p.m.
24                                                    Courtroom: 7D, First Street Courthouse

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      Defendants’ Motion for Order Awarding Additional Anti-SLAPP Attorneys’ Fees and for
      Order Compelling Payment of Anti-SLAPP Attorneys’ Fees
 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 2 of 10 Page ID #:5986




 1        PLEASE TAKE NOTICE that on September 12, 2022 at 1:30 p.m. in Courtroom
 2 7D of the First Street Courthouse, located at 350 W. 1st Street, Suite 4311, Los Angeles,
 3 CA 90012, Defendants, Edward Heldman III, ComedyMX, Inc. and ComedyMX, LLC
 4 (collectively, “Defendants”) will hereby move the Court for an Order Awarding
 5 Defendants an Additional $11,750 in Anti-SLAPP Attorneys’ Fees and for an Order
 6 Compelling Plaintiff, Beyond Blond Productions, LLC (“Plaintiff”) to immediately Pay
 7 Defendants the sum of $60,462.56 in Anti-SLAPP Attorneys’ Fees.
 8        This motion is based on this Notice of Motion, the Stipulated Application for Order
 9 to Supplement Fee Award on Anti-SLAPP Dismissal Order (attached as Exhibit “A”
10 hereto) and the attached Memorandum of Points and Authorities, and all pleadings, papers
11 and records on file herein and such oral argument as may be presented at the hearing on
12 this Motion.
13        As required by Local Rule 7-3, the parties met and conferred on this motion on
14 multiple occasions. The parties did not reach a resolution and Plaintiff stated that they
15 would oppose Defendants’ Motion.
16
17 Dated: August 15, 2022                    Respectfully submitted,
18                                           RANDALL S. NEWMAN
19                                           Attorney at Law
20
                                             By:   s/Randall S. Newman
21                                                 Randall S. Newman
22                                           Attorneys for Defendants Edward Heldman III,
                                             ComedyMX, Inc. and ComedyMX, LLC
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      Defendants’ Motion for Order Awarding Additional Anti-SLAPP Attorneys’ Fees and for
      Order Compelling Payment of Anti-SLAPP Attorneys’ Fees
 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 3 of 10 Page ID #:5987




 1                                       INTRODUCTION
 2         Defendants file this Motion for an Order Awarding Defendants an Additional
 3 $11,750 in Anti-SLAPP Attorneys’ Fees pursuant to the Stipulated Application for Order
 4 to Supplement Fee Award on Anti-SLAPP Dismissal Order (Attached hereto as Exhibit
 5 “A”) and for an Order Compelling Plaintiff to immediately pay Defendants the sum of
 6 $60,462.56 in Anti-SLAPP Attorneys’ Fees.
 7         On February 8, 2021, the Court entered an Order granting Defendants’ anti-SLAPP
 8 Motion to Strike Plaintiff’s state law claims. (ECF No. 80). On March 22, 2021, the Court
 9 ordered Plaintiff to pay Defendants attorneys’ fees in the amount of $48,712.56. (ECF No.
10 89). On April 28, 2021, the Court denied Plaintiffs’ motion to certify the anti-SLAPP Order
11 for interlocutory appeal. (ECF No. 94). Plaintiff agreed to pay Defendants an additional
12 $6,250 in attorneys’ fees for opposing Plaintiff’s motion to certify the anti-SLAPP Order
13 for interlocutory appeal. (Exhibit A, ¶ 4).
14         On November 8, 2021, in a second attempt to avoid paying Defendants the Court-
15 ordered attorneys’ fees, Beyond Blond filed a Motion to Reconsider the Anti-SLAPP Order
16 for Dismissal. (ECF No. 165). The Court denied Plaintiff’s Motion for Reconsideration on
17 December 29, 2021. (ECF No. 178). Plaintiff agreed to pay Defendants an additional
18 $5,500 in attorneys’ fees for opposing Plaintiff’s Motion for Reconsideration. (Exhibit A,
19 ¶ 8).
20         In a third attempt to avoid paying Defendants the Court-ordered attorneys’ fees,
21 Plaintiff filed a second Motion to Reconsider the Anti-SLAPP Order for Dismissal. (ECF
22 No. 248). The Court denied Plaintiff’s Second Motion for Reconsideration on July 11,
23 2022. (ECF No. 283).
24         Plaintiff has not paid Defendants any amount of the $48,712.56 in attorneys’ fees
25 awarded by this Court on March 22, 2021 or the additional $11,750 Plaintiff agreed to pay
26 Defendants by stipulation.
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      Defendants’ Motion for Order Awarding Additional Anti-SLAPP Attorneys’ Fees and for
      Order Compelling Payment of Anti-SLAPP Attorneys’ Fees
 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 4 of 10 Page ID #:5988




 1                                          ARGUMENT
 2         1. The Court Should Award Defendants an Additional $11,750 in Attorneys’
 3            Fees Pursuant to the Stipulated Application
 4         Defendants are entitled to an Order awarding them an additional $11,750 in
 5 Supplemental Fees pursuant to the Stipulated Application for Order to Supplement Fee
 6 Award on Anti-SLAPP Dismissal Order. (Exhibit “A” attached hereto). See United States
 7 v. McGregor, 529 F.2d 928, 931 (9th Cir. 1976) (Stipulations serve both judicial economy
 8 and convenience of the parties and courts should enforce them absent indications of
 9 involuntary of uninformed consent.).
10         2. The Court Should Order that Plaintiff Immediately Pay Defendants the
11            sum of $60,462.56.
12         As Courts in the Northern District of California have stated:
13
           The anti-SLAPP statute makes the award of attorney fees mandatory to a
14         prevailing party. See Cal. Civ. Proc. Code § 425.16(c)(1). The Court finds that
15         because Plaintiff prevailed on its anti-SLAPP motion, and had to expend
           significant legal fees in order to do so, Plaintiff should not bear the burden of
16
           waiting for appellate review to be compensated for such expenditures.
17 Language Line Servs. v. Language Servs. Assoc., LLC, 2012 U.S. Dist. LEXIS 7494 at *9
18 (N.D. Cal. Jan. 23, 2012). See also Mogan v. Sacks, Ricketts & Case LLP, 2022 WL
19 624442 at *2 (N.D. Cal. Mar. 3, 2022).
20      In this case, the Court has set deadlines for Defendants to pay sanctions to Plaintiff,
21 and Defendants request an Order from this Court to immediately mandate payment of the
22 $60,462.56 to continue their defense, especially in light of the three additional times
23 Defendants had to oppose Plaintiff’s attempt to reverse the anti-SLAPP Order.
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      Defendants’ Motion for Order Awarding Additional Anti-SLAPP Attorneys’ Fees and for
      Order Compelling Payment of Anti-SLAPP Attorneys’ Fees
 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 5 of 10 Page ID #:5989




 1                                         CONCLUSION
 2        For the reasons discussed above, Defendants request an Order awarding Defendants
 3 an Additional $11,750 in Anti-SLAPP Attorneys’ Fees pursuant to the Stipulated
 4 Application for Order to Supplement Fee Award on Anti-SLAPP Dismissal Order
 5 (Attached hereto as Exhibit “A”) and for an Order Compelling Plaintiff to immediately pay
 6 Defendants the sum of $60,462.56 in Anti-SLAPP Attorneys’ Fees.
 7
     DATED: August 15, 2022                  Respectfully submitted,
 8
 9                                           RANDALL S. NEWMAN
                                             Attorney at Law
10
11                                           By:    s/Randall S. Newman
12                                                  Randall S. Newman

13
14                                           LEECH TISHMAN FUSCALDO &
                                             LAMPL, INC.
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                                             Pasadena, CA 91101
19                                           Phone: (626) 796-4000
20                                           Fax: (626) 795-6321

21                                           Attorneys for Defendants Edward Heldman III,
22                                           ComedyMX, Inc., and ComedyMX, LLC
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      Defendants’ Motion for Order Awarding Additional Anti-SLAPP Attorneys’ Fees and for
      Order Compelling Payment of Anti-SLAPP Attorneys’ Fees
Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 6 of 10 Page ID #:5990




                     EXHIBIT A
 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 7 of 10 Page ID #:5991




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 8 Attorneys for Defendants Edward Heldman III
 9 and ComedyMX, Inc., and Defendant, Counterclaimant,
   and Third-Party Plaintiff ComedyMX, LLC
10
11
12                              UNITED STATES DISTRICT COURT

13                             CENTRAL DISTRICT OF CALIFORNIA

14
   BEYOND BLOND PRODUCTIONS,                         Case No. 2:20-cv-05581-DSF-GJSx
15 LLC, a California limited liability
16 company,                                          Honorable Dale S. Fischer
17
                  Plaintiff,                         STIPULATED APPLICATION FOR
18                                                   ORDER TO SUPPLEMENT FEE
19        vs.                                        AWARD ON ANTI-SLAPP
                                                     DISMISSAL ORDER
20 EDWARD HELDMAN III, an individual;
21 COMEDYMX, INC., a Nevada
   corporation; COMEDYMX, LLC, a
22 Delaware limited liability company; and
23 DOES 1-10;
24
              Defendants.
25 ___________________________________
26 AND RELATED COUNTERCLAIM AND
   THIRD-PARTY COMPLAINT.
27
28
                                                     1
     Stipulated Application for Order to Supplement Fee Award on   Case No. 2:20-cv-05581-DSF-GJSx
     Anti-Slapp Dismissal Order
 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 8 of 10 Page ID #:5992




 1          TO THIS HONORABLE COURT, the Parties – Plaintiff-Cross-Defendant
 2 BEYOND BLOND PRODUCTIONS, LLC and Cross-Complainants EDWARD
 3
   HELDMAN III, COMEDYMX, INC., and COMEDYMX, LLC (collectively
 4
 5 “Defendants”) – by and through their respective counsel of record, hereby stipulate to this
 6
     Application to Supplement Fee Award on Anti-SLAPP Order for Dismissal as follows:
 7
 8         1.     The Court entered an Order awarding attorney fees, following its Anti-
 9 SLAPP Order for Dismissal, to be paid by Plaintiff to Defendants in the amount of
10
   $48,712.56 [ECF No. 89] [“Fee Award”].
11
12         2.     Additional fees were thereafter incurred by Defendants in opposition to
13
     Plaintiff’s Motion to Certify for Interlocutory Appeal from Anti-SLAPP Order for
14
15 Dismissal.
16
           3.     Defendants requested a meet and confer on an intended motion to
17
18 supplement the Fee Award, in the amount of $9,267.60, for 20.24 hours incurred by three
19 attorneys.
20
          4.      Following exchange of additional information, the parties negotiated a
21
22 compromise supplemental fee amount, with Plaintiff proposing $6250.                 Defendants
23
     accept this proposal.
24
25         5.     On November 8, 2021, Plaintiff filed a Motion to Reconsider the Anti-
26 SLAPP Order for Dismissal [ECF No. 165] which the Court denied on December 29,
27
   2021 [ECF No. 178].
28
                                                     2
     Stipulated Application for Order to Supplement Fee Award on   Case No. 2:20-cv-05581-DSF-GJSx
     Anti-Slapp Dismissal Order
 Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 9 of 10 Page ID #:5993




 1         6.     Additional fees were incurred by Defendants to oppose Plaintiff’s
 2 unsuccessful Motion for Reconsideration.
 3
         7.    Defendants requested a meet and confer on an intended motion to
 4
 5 supplement the Fee Award for a second time, in the amount of $8,596.60, for 13.64 hours
 6
     incurred by three attorneys.
 7
 8         8.     The parties negotiated a compromise second supplemental fee amount, with
 9 Plaintiff proposing $5,500. Defendants accept this proposal.
10
          9.     Accordingly, Defendants seek $11,750($6,250 + $5,500) pursuant to this
11
12 Stipulated Application.
13
         10.    Plaintiff enters into this stipulation without prejudice to its rights to seek
14
15 reconsideration of or to appeal the Court’s Order granting Defendants’ anti-SLAPP
16
     motion and subsequent award of attorneys’ fees, but merely as a method of compromise
17
18 to avoid Defendants’ additional expenditure of attorneys’ fees in bringing a motion.
19 Additionally, Plaintiff asserts that Defendants are not entitled to collection of any fees
20
   until final resolution of this matter. However, Defendants intend to motion the Court for
21
22 an Order making those fees immediately payable, which Plaintiff has indicated it will
23
     oppose. Defendants have indicated that they will not seek attorneys’ fees in bringing said
24
25 motion to expedite payment of attorneys’ fees.
26
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                                                     3
     Stipulated Application for Order to Supplement Fee Award on   Case No. 2:20-cv-05581-DSF-GJSx
     Anti-Slapp Dismissal Order
     Case 2:20-cv-05581-DSF-GJS Document 297 Filed 08/15/22 Page 10 of 10 Page ID
                                      #:5994




 1 SO STIPULATED:
 2 Dated: February 18, 2022             MILORD & ASSOCIATES, PC
 3
                                        s/ Milord A. Keshishian
 4
                                        By: Milord A. Keshishian
 5                                      Attorney for Plaintiff and Cross-Defendant
 6
 7 Dated: February 18, 2022             RANDALL S. NEWMAN
 8                                      MEIR J. WESTREICH
 9
10                                      s/ Randall S. Newman

11                                      By: Randall S. Newman
                                        Attorney for Defendants and Counter-Claimant
12
13
14                          Attestation Pursuant to L.R. 5-4.3.4(a)(2)(i)
15
16         I hereby attest that all other signatories listed, and on whose behalf the filing is
17 submitted, concur in the filing’s content and have authorized the filing.
18
19 Dated: February 18, 2022             s/ Randall S. Newman
20                                      By: Randall S. Newman
                                        Attorney for Defendants and Counter-Claimant
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      Stipulated Application for Order to Supplement Fee Award on   Case No. 2:20-cv-05581-DSF-GJSx
      Anti-Slapp Dismissal Order
